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                                UNITED STATES DISTRICT COURT
                              FOR THE MIDDLE DISTRICT OF FLORIDA
                                        OCALA DIVISION

 CHERYL RAFFERTY, on behalf of herself and
 all others similarly situated,

                 Plaintiff,
                                                             Case No. 5:17-cv-00426-PGB-PRL
 vs.

 RETRIEVAL-MASTERS CREDITORS
 BUREAU, INC., doing business as RMCB
 COLLECTION AGENCY, and JOHN DOES
 1-25,

                 Defendants.                             /

                           MOTION TO TAX COSTS
           ON BEHALF OF RETRIEVAL-MASTERS CREDITORS BUREAU, INC.

         Now Comes Defendant, RETRIEVAL-MASTERS CREDITORS BUREAU, INC.

 ("RMCB"), through its undersigned counsel, and pursuant to 28 U.S.C. §1920 and Fed. R. Civ. P.

 54(d)(1), respectfully and timely moves this Court for an Order taxing costs against Plaintiff in an

 amount no less than $975.95 as a result of it being the prevailing party following the Court

 entering judgment in its favor in this action, and in support thereof, states as follows:

                                I.     PRELIMINARY STATEMENT

         On February 15, 2019, U.S. Magistrate Judge Lammens issued a Report and

 Recommendation wherein he recommended that the Court deny Plaintiff’s Motion for Summary

 Judgment, and grant RMCB’s Motion for Summary Judgment. Dkt. #127. On March 4, 2019,

 the Court issued an Order adopting the Report and Recommendations. 1 Dkt. #128. On March 5,

 2019, this Honorable Court entered judgment in favor of RMCB; thereby making RMCB the

 prevailing party. Dkt. #129.




 1 The Court also denied Plaintiff's Motion for Class Certification [DE #98] as moot. That was Plaintiff
 second chance to move for class certification. Plaintiff had filed a Motion for Class Certification earlier
 in the case. [DE 62]. RMCB opposed each of those motions. [DE #72, 109].
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        Accordingly, RMCB is entitled to have the Court tax costs in its favor and against Plaintiff

 in an amount no less than $975.95.

                                         II.    ARGUMENT

 A.     RMCB Is Entitled to Recover Its Costs

        A prevailing party in a lawsuit should be awarded its costs. Fed. R. Civ. P. 54(d)(1).

 Under 28 U.S.C §1920, a federal court or clerk of court may tax costs in favor of the prevailing

 party as follows:

        (1)     Fees of the clerk and marshal;
        (2)     Fees for printed or electronically recorded transcripts necessarily
                obtained for use in the case;
        (3)     Fees and disbursements for printing and witnesses;
        (4)     Fees for exemplification and the costs of making copies of any materials where
                the copies are necessarily obtained for use in the case;
        (5)     Docket fees under section 1923 of this title;
        (6)     Compensation of court appointed experts, compensation of interpreters, and
                salaries, fees, expenses, and costs of special interpretation services under section
                1828 of this title. 28 U.S.C. § 1920.

        RMCB is the prevailing party in this action, pursuant to the Court’s March 5, 2019

 judgment. Dkt. #129.

        As reflected in the Bill of Costs, which is annexed hereto, RMCB is entitled to recover no

 less than $975.95 as costs to be taxed against Plaintiff, as follows: (1) $825.95 regarding Plaintiff's

 deposition transcript, and (2) $150.00 for a pro hac vice fee paid to the clerk of court.

        1.      Deposition Transcript Fees

        The Eleventh Circuit has held that under §1920, a prevailing party is entitled have taxed

 deposition costs that were necessarily obtained for use in the case. See EEOC v. W&O, Inc.,

 213 F.3d 600, 620-622 (11th Cir. 2000). "[A] deposition need not be introduced into evidence at

 trial in order to be ‘necessarily obtained for use in the case.' If, at the time it was taken, a

 deposition could reasonably be expected to be used for trial preparation, rather than merely for


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 discovery, it may be included in the costs of the prevailing party." Fogleman v. Aramco, 920 F.

 2d 278, 285 (5th Cir. 1991). Furthermore, depositions taken of witnesses listed on the opposing

 party's witness list are necessarily obtained and, therefore, taxable. See Murphy v. City of

 Flagler Beach, 761 F.2d 622, 631 (11th Cir. 1985). Since "the parties presumably have equal

 knowledge of the basis for each deposition," the party who challenges the proposed costs "bears

 the burden of showing that specific deposition costs or a court reporter's fee was not necessary

 for use in the case or that the deposition was not related to an issue present in the case at the time

 of the deposition." George v. Fla. Dep 7 of Corr., No. 07–80019–CIV, 2008 WL 2571348, at *5

 (S.D. Fla. May 23, 2008).

         In this case RMCB is seeking to have the deposition costs for the taking of Plaintiff's

 deposition taxed. The deposition transcript was necessarily obtained for use in the case and the

 cost was $825.95. Plaintiff’s deposition and sworn testimony was material to both RMCB’s

 Motion for Summary Judgment in which it prevailed on, and in defending against Plaintiff’s

 Motion for Class Certification. See e.g. Dkt. #74, 113, 116, 118, and Group Exhibit B. What is

 more, Plaintiff stated in her Response to RMCB's Interrogatory No. 24 that she anticipated calling

 herself to testify as trial. See Declaration of Ortiz, Ex. B. As a result, RMCB is entitled to have

 the costs for Plaintiff's deposition taxed in its favor.

         2.      Fees of the Clerk

         A filing fee has been explicitly recognized as a taxable cost, pursuant to 28 U.S.C.

 §1920(5).    James v. Wash Depot Holdings, Inc., 242 F.R.D. 645, 652 (S.D. Fla. 2007).

 ("[D]ocket fees are a taxable cost pursuant to 28 U.S.C. §1920(5)."). One such docket fee is the

 fee associated with seeking admission pro hac vice, which is taxable. Disabled Patriots of Am.,

 Inc. v. HT West End, LLC, CIVIL ACTION NO. 1:04-CV-3216-JEC, 2007 U.S. Dist. LEXIS

 17597 *15 - *16 (N.D. Ga. Mar. 13, 2007). RMCB is consequently entitled to recover the
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 $150.00 expended for the fee paid to the Clerk of this Court to allow its lead counsel, Attorney

 Carlos A. Ortiz, to appear on its behalf, pro hac vice. See information regarding the filing fee

 paid by RMCB, attached as Group Exhibit "D". As is reflected by the docket in this matter, the

 majority of RMCB's filings were signed and filed by Attorney Ortiz, including submissions

 regarding the dispositive motions and the motions for class certification. In addition, Mr. Ortiz

 traveled from Chicago to Ocala to attend the Court mandated mediation in this matter. The $150

 pro hac was charged to RMCB. Accordingly, RMCB is entitled to recover this cost by having

 that amount taxed against Plaintiff.

 B.     RMCB is Entitled to Interest on the Taxable Costs

        Pursuant to 28 U.S.C. § 1961(a), "[i]interest shall be allowed on any money judgment in

 a civil case recovered in a district court . . . Such interest shall be calculated from the date of the

 entry of the judgment." The Eleventh Circuit has further specified that "interest shall accrue on .

 . . taxable costs from the date the court entered final judgment." BankAtlantic v. Blythe

 Eastman Paine Webber, Inc., 12 F.3d 1045, 1052 (11th Cir. 1994). The post-judgment interest

 rate is "equal to the weekly average 1–year constant maturity Treasury yield, as published by the

 Board of Governors of the Federal Reserve System, for the calendar week preceding . . . the date

 of the judgment." 28 U.S.C. § 1961(a). RMCB is consequently entitled to interest from the date

 of this Court's March 5, 2019 Judgment. Dkt. #129.

                                        III.   CONCLUSION

        For the foregoing reasons, RETRIEVAL-MASTERS CREDITORS BUREAU, INC.

 respectfully requests that this Court enter an Order awarding RMCB no less than $ 975.95 in

 taxed costs, plus post-judgment interest, as well as any other relief the Court deems just under

 the circumstances.



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                                RULE 3.01 CERTIFICATION
        Pursuant to Local Rule 3.01(g), undersigned counsel for RMCB certifies that he conferred

 with counsel for Plaintiff in a good faith effort to resolve the issues raised in this motion but the

 parties were unable to reach an agreement.

                                  CERTIFICATE OF SERVICE

         I hereby certify that the documents filed through the ECF system will be sent
 electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
 and paper copies will be sent to those indicated as non-registered participants on March 14,
 2019, on:

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                                               Respectfully Submitted,
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